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             In the United States District Court
             for the Southern District of Georgia
                      Waycross Division
UNITED STATES OF AMERICA

v.

                                                               No.523-7
JC LONGORIA CASTRO.




                                        ORDER



      The    Court     ORDERS   the    United    States      Probation       Office   to

file the Initial Presentence Investigation Report (PSR) as to JC

Castro      on   the     record.       Counsel        will    only     receive        PSR

reports     electronically via CM/ECF and will not receive a paper

copy of any report. The Court ORDERS counsel and the parties to

maintain the confidentiality of the PSR and any objections and

addenda     thereto.     The    PSR    and     any     objections          and   addenda

thereto should only be disclosed to and reviewed by Defendant,

counsel for Defendant, and United                 States      Attorney’s         Office,

the    United     States        Probation       Office,      and     the     Court.    If

Defendant is detained, defense counsel may print a copy of the

Presentence      Investigation        Report    and    any   addenda        thereto    to

review with Defendant. However, counsel shall not leave a copy

of the Presentence Investigation Report and any
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addenda thereto with a detained defendant. Should counsel desire

to leave the Presentence Investigation Report or a portion thereof

with a detained defendant, counsel must file a motion with the

Court. The Court ORDERS counsel for each party to state in writing

within   14   days     after     receiving       the   Initial   Presentence

Investigation Report, and file on the record in a restricted manner

any objections to the Report, including objections to material

information, sentencing guideline ranges, and policy statements

contained in or omitted from the Report. If any party has no

objections,   the    party   shall   file    a   written   statement   of   no

objections on the record in a restricted manner within 14 days of

receiving the Initial Report. To be clear, within 14 days of

receiving the Initial Report, counsel must state in writing and

file on the record in a restricted manner whether the party has

objections or does not have objections to the Report.




     SO ORDERED, this 25th day of July, 2023.




                               HON.
                                ON.
                                  . LISA GODBEY
                                         G DBEY
                                         GO   Y WOOD, JUDGE
                                                      JUDG
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
